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paralegal-2@lawofficesmrn.com

From:                James W. Brewer <Jim.Brewer@kempsmith.com>
Sent:                Thursday, August 12, 2021 8:30 AM
To:                  'MNevarez@LawOfficesMRN.com'; bodell@mhba.com; 'James King'; 'Ronald Ingalls'
Cc:                  paralegal-2@lawofficesmrn.com
Subject:             RE: Double H Transportation LLC v. Odell, USWDTX 3:21-cv-00121-KC



Michael,

I have no opposition to a two‐week extension.


James W. Brewer
Partner
221 N. Kansas | Suite 1700
El Paso, Texas 79901
D: 915 546-5236 | O: 915 533-4424
james.brewer@kempsmith.com




From: MNevarez@LawOfficesMRN.com <MNevarez@LawOfficesMRN.com>
Sent: Thursday, August 12, 2021 7:47 AM
To: bodell@mhba.com; James W. Brewer <Jim.Brewer@kempsmith.com>; 'James King' <jwk@offermanking.com>;
'Ronald Ingalls' <ron@ingallstrustee.com>
Cc: paralegal‐2@lawofficesmrn.com
Subject: Double H Transportation LLC v. Odell, USWDTX 3:21‐cv‐00121‐KC

**** EXTERNAL EMAIL ****


Gentlemen:

I intend to file a motion for a 2 week extension to file the Debtor’s appellate brief, due to impact of my ongoing
chemotherapy, and other case work. Please advise whether or not you will oppose same.

Thank you.

        Michael R. Nevarez
        Attorney at Law
        The Nevarez Law Firm, PC
        Attorneys And Counselors At Law
        Mailing Address:
        P.O. Box 12247
        El Paso, TX 79913
        Telephone: (915) 225-2255
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                                                         1
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         Website: http://www.NevarezLawFirm.com/

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